          Case: 4:22-cv-00870-CDP Doc. #: 1 Filed: 08/22/22 Page: 1 of 8 PageID #: 1


     RECEIVED
     AUG 2 2 2022
                                       UNITED STATES DISTRICT COURT
   U. S. DISTRICT COURT
 EASTERN DISTRICT OF MO                EASTERN DISTRICT OF MISSOURI
          ST. LOUIS                      _ _ _ _ _ _ _ _ _DIVISION


                                                            )
                                                            )
                                                            )
      Plaintiff(s), l<ATHY=RING MARIA tf-tJfJE~             )
                                                            )
    v.                                                      )       Case No.
                                                            )
                                                                               --------
                                                                        (to be assigned by Clerk of District Court)
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                                                            )
L..IDOI   tv oRfH LrND'J3. ERM! 'BOULEVARD                  )
                                                            )       JURY TRIAL DEMANDED
SAttvT        Lours/ M rs.sovR              b3 l 'i I
                                                            )
                                                            )
      Defendant(s). (Enter above the full name(s)           )
      of all defendants in this lawsuit. Please             )
      attach additional sheets if necessary.)               )


                             EMPLOYMENT DISCRIMINATION COMPLAINT

                 I.     This employment discrimination lawsuit is based on (check only those that apply):


      ){_ Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
          employment discrimination on the basis of race, color, religion, gender, or national origin.
          NOTE: In order to bring suit in federal district court under Title VII, you must first obtain
          a right-to-sue letter from the Equal Employment Opportunity Commission.

                 Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq., for
                 employment discrimination on the basis of age (age 40 or older).
                 NOTE: In order to bring suit in federal district court under the Age Discrimination in
                 Employment Act, you must first file charges with the Equal Employment Opportunity
                 Commission.

                 Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq.,
                 for employment discrimination on the basis of disability.
                 NOTE: In order to bring suit in federal district court under the Americans with
                 Disabilities Act, you must first obtain a right-to-sue letter from the Equal Employment
                 Opportunity Commission.
 Case: 4:22-cv-00870-CDP Doc. #: 1 Filed: 08/22/22 Page: 2 of 8 PageID #: 2




       Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
       discrimination on the basis of a disability by an employer which constitutes a program or
       activity receiving federal financial assistance.
       NOTE: In order to bring suit in federal district court under the Rehabilitation Act of1973,
       you must first file charges with the appropriate Equal Employment Office representative or
       agency.

.J(_   Other (Describe)
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              To lf\Jf~RN~ L sy.srEµ~ R csPrRATo ~ ..... y.5r&J 1
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              DV A tJ\~~1 CA A"-fD THE Bl LL Of Rr6HT
                                             PARTIES

       2.     Plaintiffs name: K ATH eRr N -             MAR

              Plaintiffs address:   98 S 2      KN OLl SH          t=- GRlV
                                            Street address or P.O. Box


                                            City/ County/ State/Zip Code


                                            Area code and telephone number

       3.     Defendant's name:      AM FRI CAN A~ocrt1TTorJ Or 0R1HODOI\JTJSTS
              Defendant's address: '-lOOI      tJo  H L:rNP ERb H            Bou LEV!'\R
                                        Street address or P.O. Box


                                            City/County/State/ Zip Code

                                       3\ LJ-9 ~3 - /r OO
                                            Area code and telephone number

NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDE THEm NAMES, ADDRESSES AND TELEPHONE NUMBERS ON A
SEPARATE SHEET OF PAPER.


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  Case: 4:22-cv-00870-CDP Doc. #: 1 Filed: 08/22/22 Page: 3 of 8 PageID #: 3




       4.      If you are claiming that the discriminatory conduct occurred at a different location,
please provide the following information:

(Street Address)                     (City/County)               (State)   (Zip Code)

       5.      When did the discrimination occur? Please give the date or time period:




                              ADMINISTRATIVE PROCEDURES

       6.      Did you file a charge of discrimination against the defendant(s) with the Missouri

Commission on Human Rights?

                        Date filed: ]A.tJIJA'Ry    l 21 20:22.
       L No
       7.      Did you file a charge of discrimination against the defendant(s) with the Equal

Employment Opportunity Commission or other federal agency?                 b ut'.\ L   i=-"1: LED   vj
       JN_Yes         Date filed:   J AtJ UARV l'l . 2 0 '2- 2             H-rssou R..I Co1-1Mr ~r o'IJ
                                             /    ;                        ON HUMAlv RTbH T
        !- _No
       8.      Have you received a Notice of Right-to-Sue Letter?

                      Yes                               L No
If yes, please attach a copy of the letter to this complaint.

       9.      If you are claiming age discrimination, check one of the following:

       _ _60 days or more have passed since I filed my charge of age discrimination with the

Equal Employment Opportunity Commission.

       _ _fewer than 60 days have passed since I filed my charge of age discrimination with the

Equal Employment Opportunity Commission.


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Case: 4:22-cv-00870-CDP Doc. #: 1 Filed: 08/22/22 Page: 4 of 8 PageID #: 4




                               NATURE OF THE CASE

  10.    The conduct complained of in this lawsuit involves (check only those that apply):

                 failure to hire me

          L  termination ofmy employment/CoN STRtJC.,TI VE DTSCH ARl.:.G/ i="oRl'..ED
                                                                  'R e:sr6 NATI D tJ
          __ failuretopromoteme                                    VrA ULTrM~TV

          ){_ failure to accommodate my disahllity- l~ EA l11--\

          __ tem1s and conditions ofmy employment differ from those of similar employees

          .2{_   retaliation

          :£_ harassment /SE b'Rr;-bATI DN
          L      other conduct (specify):
                     • VroU\Tro~ or C.ERTATt.J t>NA wE-tvA f> Li:
                                                 I                    "/
                                                                           .sAc
                                                                           -    -
                                                                                    RJ- bHT
                    • V°P.It....V\<. E Tb AccoMDbAtE/ 'Rbtr        ON
                      DE rA l {) E-XEM~TTDN"/ R E'Lii,.To f\1
                   • C.o ~'RC. D I.           SC      Tl\J ¥\ T.+'D rJ
                  • 'PRric.T CT /\J b M CD crNE WITH OUT A LJ.( CNCI:'
   Did you complain about this same conduct in your charge of discrimination?

                                                £ _No




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 Case: 4:22-cv-00870-CDP Doc. #: 1 Filed: 08/22/22 Page: 5 of 8 PageID #: 5




       11.       I believe that I was discriminated against because of my (check all that apply):

                        race

                 _.X_   religion

                        national origin

                        color

                        gender

                        disability

                        age (birth year is:

                        other:



       Did you state the same reason(s) in your charge of discrimination?

                 _l¼l,_Yes                                  c_No
         12.     State here, as briefly and clearly as possible, the essential facts of your claim.
Describe specifically the conduct that you believe is discriminatory and describe how each defendant
is involved in the conduct. Take time to organize your statement; you may use numbered paragraphs
if you find it helpful. It is not necessary to make legal arguments, or to cite cases or statutes.

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Nr:ssov I            Cr, MI!:.'Sto        O I   H Jf.1-1   ~,     T6 1 -       I·   SIS/· 2.




(Continue to page 6, if additional space is needed.)


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 Case: 4:22-cv-00870-CDP Doc. #: 1 Filed: 08/22/22 Page: 6 of 8 PageID #: 6




(Attach additional sheets as necessary).


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   Case: 4:22-cv-00870-CDP Doc. #: 1 Filed: 08/22/22 Page: 7 of 8 PageID #: 7




         13.    The acts set forth in paragraph 12 of this complaint:

                £_ are still being committed by the defendant.
                __c_ are no longer being committed by the defendant.
                _& may still be being committed by the defendant.
                                    REQUEST FOR RELIEF

        State briefly and exactly what you want the Court to do for you. Make no legal arguments;

 cite no cases or statutes.




    VT 0 LATIO S 01=" L W l)CKr00WLE 6-D Wr TH TTIJ                               NlJ      L 'REM CDj

         14.    Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of
my knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the requirements
of Rule




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  Case: 4:22-cv-00870-CDP Doc. #: 1 Filed: 08/22/22 Page: 8 of 8 PageID #: 8




       I agree to provide the Clerk's Office with any changes to my address where case-related

papers may be served. I understand that my failure to keep a current address on file with the Clerk's

Office may result in the dismissal of my case.

       I declare under penalty of perjury that the foregoing is true and correct.

                      Signed this   :22. day of           1t1   ~ t-                20 2 '2.
                                                           ✓




                      Signature of Plaintiff      &ZZ~             d ~ J::4~A
                                                  l<mu    r-N r MA- rA h"N~ LR




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